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      In The United States Court of Federal Claims
                                            No. 06-899L

                                    (Filed: January 6, 2012)
                                          __________

 SWINOMISH INDIAN TRIBAL
 COMMUNITY,

                               Plaintiff,

                        v.

 THE UNITED STATES,

                               Defendant.

                                             _________

                                              ORDER
                                             _________


       A telephonic status conference will be held in this case on Tuesday, January 24, 2012, at
2:00 p.m. (EST). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.




                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
